Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 1 of 13          PageID #: 458



                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

  HUNTER KILLER                  )             CIVIL NO. 19-00168 LEK-KJM
  PRODUCTIONS, INC., et al.,     )
                                 )             FINDINGS AND
                 Plaintiffs,     )             RECOMMENDATION TO DENY
                                 )             PLAINTIFFS’ MOTION FOR
       vs.                       )             DEFAULT JUDGMENT AGAINST
                                 )             DEFENDANT NGHI PHAN NHAT
  QAZI MUHAMMAD ZARLISH, et )
  al.,                           )
                                 )
                 Defendants.     )
  _______________________________)

    FINDINGS AND RECOMMENDATION TO DENY PLAINTIFFS’ MOTION
    FOR DEFAULT JUDGMENT AGAINST DEFENDANT NGHI PHAN NHAT

       On September 6, 2019, Plaintiffs Hunter Killer Productions, Inc., TBV

 Productions, LLC, Venice PI, LLC, Bodyguard Productions, Inc., and LHF

 Productions, Inc. (collectively, “Plaintiffs”) filed a Motion for Default Judgment

 Against Defendant Nghi Phan Nhat (“Motion”). ECF No. 37. Defendant Nghi Phan

 Nhat (“Defendant Nhat”) did not file an opposition or otherwise respond to the

 Motion.

       On November 6, 2019, the Court held a hearing on the Motion. Kerry S.

 Culpepper, Esq., appeared on behalf of Plaintiffs. After carefully considering the

 Motion, the arguments of counsel, the record in this case, and the applicable law, the

 Court FINDS AND RECOMMENDS that the district court DENY Plaintiffs’ Motion.
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 2 of 13          PageID #: 459



                                   BACKGROUND

       On April 3, 2019, Plaintiffs filed their Complaint against Defendants Qazi

 Muhammad Zarlish, Pebblebridge Technologies, LLP, Vishnudath Reddy

 Mangilpudi, Hoan Pham, and Defendant Nhat (collectively, “Defendants”). ECF

 No. 1. Plaintiffs are the copyright owners of several motion pictures (“Works”). See

 id. at 5 ¶ 16. The Complaint alleges that Defendants use their interactive websites to

 promote Show Box, a software application, to the public as a legitimate means for

 viewing copyrighted content for free, including the Works. See id. at 2 ¶ 1, 3 ¶ 5; see

 also id. at 6 ¶ 17. The Complaint alleges that “Defendants have designed their

 interactive websites to individually target Hawaii users based upon their personal

 information such as web browsing history.” Id. at 3 ¶ 6.

       The Complaint alleges that Defendant Nhat, a Vietnam resident, operates the

 interactive website apkmirrordownload.com (“APK Site”). Id. at 30-31 ¶¶ 120-21.

 The Complaint alleges that Defendant Nhat registered the APK Site through the

 domain registrar Namesilo, LLC (“Namesilo”), a company based in Arizona. Id. at

 31 ¶ 122. Defendant Nhat also registered with Cloudflare, Inc. (“Cloudflare”), a

 United States company, to host the APK Site. See id. at 5 ¶ 13; see also ECF No. 37-

 1 at 13.

       The Complaint alleges that various versions of Show Box and Popcorn Time,

 “piracy” applications, were available for download on the APK Site. ECF No. 1 at


                                            2
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 3 of 13           PageID #: 460



 31-32 ¶¶ 124-25. “[T]he Show Box app is using one or more addons for streaming

 infringing content, including Plaintiffs’ Works. These addons are designed and

 maintained for the overarching purpose of scouring the Internet for illegal sources of

 copyrighted content and returning links to that content.” Id. at 39 ¶ 141. When Show

 Box users click a “WATCH NOW” button, the user receives unauthorized streams of

 popular films, including Plaintiffs’ Works. Id.

       The Complaint alleges that the promotional language on Defendants’ websites

 misleads consumers into believing that Show Box is a legitimate platform for viewing

 copyright-protected content. See id. at 6 ¶ 17. The Complaint alleges that

 Defendants, including Defendant Nhat, profit from their distribution and promotion

 of Show Box through clickable ads on their websites and Show Box, among other

 ways. See id. at 7 ¶¶ 20-22. The Complaint asserts claims against Defendant Nhat

 under (i) the Copyright Act of 1976, 17 U.S.C. § 101, et seq., (ii) the Lanham Act of

 1946, 15 U.S.C. § 1051, et seq., and (iii) Hawaii state law. See id. at 45-57.

       On May 29, 2019, Plaintiffs’ counsel submitted to the Clerk’s Office for

 sending to Defendant Nhat a mail package containing a copy of the summons,

 Complaint, Scheduling Order, and “Vietnamese machine translation.” ECF No. 19.

 On June 10, 2019, Plaintiffs filed the Declaration of Stephanie Kessner, which states

 that FedEx delivered Plaintiffs’ mail package to Defendant Nhat on June 5, 2019.




                                            3
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 4 of 13             PageID #: 461



 ECF No. 20. The Clerk of Court subsequently entered default against Defendant

 Nhat on July 9, 2019. ECF No. 29.

                                      DISCUSSION

       Before considering the merits of the Motion, the Court has an affirmative

 obligation to determine whether it has subject matter jurisdiction over this action and

 personal jurisdiction over Defendant Nhat. See In re Tuli, 172 F.3d 707, 712 (9th Cir.

 1999) (“To avoid entering a default judgment that can later be successfully attacked

 as void, a court should determine whether it has the power, i.e., the jurisdiction, to

 enter the judgment in the first place.”). The Court has subject-matter jurisdiction

 over the claims in the Complaint pursuant to 28 U.S.C. §§ 1331, 1338, and 17 U.S.C.

 § 101, et seq. The Court finds, however, that it lacks personal jurisdiction over

 Defendant Nhat for the reasons set forth below.

       Plaintiffs contend that the Court has personal jurisdiction over Defendant Nhat

 pursuant to Federal Rule of Civil Procedure 4(k)(2), often referred to as the federal

 long-arm statute. See ECF No. 37-1 at 10. To exercise jurisdiction under Rule

 4(k)(2): (1) the claim(s) at issue must arise under federal law; (2) the defendant must

 not be subject to the jurisdiction of any state court of general jurisdiction; and (3)

 exercising jurisdiction must comport with due process. Fed. R. Civ. P. 4(k)(2); see

 also Holland Am. Line Inc. v. Wartsila N. Am., Inc., 485 F.3d 450, 461 (9th Cir.

 2007); Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1159 (9th Cir. 2006). Here,


                                             4
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 5 of 13            PageID #: 462



 Plaintiffs’ claims arise under federal law and Defendant Nhat, as a Vietnam resident,

 is not subject to the jurisdiction of any state court of general jurisdiction. The Court

 thus focuses on whether exercising personal jurisdiction over Defendant Nhat

 comports with due process.

        “There are two forms of personal jurisdiction that a forum state may exercise

 over a nonresident defendant – general jurisdiction and specific jurisdiction.”

 Boschetto v. Hansing, 539 F.3d 1011, 1016 (9th Cir. 2008). Plaintiffs state in their

 Motion that their claims against Defendant Nhat are not based on general jurisdiction.

 ECF No. 37-1 at 11. Rather, Plaintiffs contend that the Court has specific jurisdiction

 over Defendant Nhat.

       The specific jurisdiction inquiry focuses on the relationship between the

 nonresident defendant, the forum, and the litigation. Walden v. Fiore, 571 U.S. 277,

 284 (2014). “For a State to exercise jurisdiction consistent with due process, the

 defendant’s suit-related conduct must create a substantial connection with the forum

 State.” Id. This requires the relationship to “arise out of contacts that the ‘defendant

 himself’ creates with the forum state” and “looks to the defendant’s contacts with the

 forum State itself, not the defendant’s contacts with the persons who reside there.”

 Id. at 284-85 (emphasis in original).

       For specific jurisdiction to exist, a “nonresident defendant must have ‘certain

 minimum contacts with [the forum] such that the maintenance of the suit does not


                                             5
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 6 of 13            PageID #: 463



 offend traditional notions of fair play and substantial justice.’” Axiom Foods, Inc. v.

 Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017) (alterations in Axiom

 Foods) (some internal quotation marks omitted) (quoting Int’l Shoe Co. v.

 Washington, 326 U.S. 310, 315 (1945)). The Ninth Circuit employs a three-part test

 to determine whether a non-resident defendant has sufficient minimum contacts,

 which is satisfied when “‘(1) the defendant has performed some act or consummated

 some transaction within the forum or otherwise purposefully availed himself of the

 privileges of conducting activities in the forum, (2) the claim arises out of or results

 from the defendant’s forum-related activities, and (3) the exercise of jurisdiction is

 reasonable.’” Pebble Beach, 453 F.3d at 1155 (quoting Bancroft & Masters, Inc. v.

 Augusta Nat’l Inc., 223 F.3d 1082, 1086 (9th Cir. 2000)). The plaintiff bears the

 burden of establishing the first two prongs. Schwarzenegger v. Fred Martin Motor

 Co., 374 F.3d 797, 802 (9th Cir. 2004). If the plaintiff does not satisfy either prong,

 “personal jurisdiction is not established in the forum state.” Id.

       Under the first prong of the minimum contacts test, Plaintiffs must establish

 that Defendant Nhat either purposefully availed himself to the privilege of conducting

 activities in the United States, or purposefully directed his activities toward the

 United States. See Pebble Beach, 453 F.3d at 1158 (“Th[e] ability to look to the

 aggregate contacts of a defendant with the United States as a whole instead of a

 particular state forum is a product of Rule 4(k)(2).”). “A purposeful availment


                                             6
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 7 of 13           PageID #: 464



 analysis is most often used in suits sounding in contract.” Schwarzenegger, 374 F.3d

 at 802. “A purposeful direction analysis, on the other hand, is most often used in

 suits sounding in tort.” Id. (citing Dole Food Co. v. Watts, 303 F.3d 1104, 1111 (9th

 Cir. 2002)); cf. Ziegler v. Indian River Cty., 64 F.3d 470, 473 (9th Cir. 1995) (noting

 that the Ninth Circuit applies “different purposeful availment tests to contract and tort

 cases”). “A claim for copyright infringement sounds in tort, and therefore a

 purposeful direction analysis is appropriate.” Goldberg v. Cameron, 482 F. Supp. 2d

 1136, 1144 (N.D. Cal. 2007).

        Notwithstanding that a purposeful direction analysis is appropriate in copyright

 infringement cases, Plaintiffs argue that Defendant Nhat’s alleged conduct constitutes

 purposeful direction and purposeful availment. The Court addresses each argument

 in turn.

 A.     Purposeful Direction

        Unlike a purposeful availment analysis, which typically involves evidence of a

 defendant’s actions in the forum, a “showing that a defendant purposefully directed

 his conduct toward a forum state . . . usually consists of evidence of the defendant’s

 actions outside the forum state that are directed at the forum.” Schwarzenegger, 374

 F.3d at 802-03. Under the purposeful direction test, which is also known as the

 “effects” test and derives from Calder v. Jones, 465 U.S. 783 (1984), “[t]he defendant

 must have (1) committed an intentional act, (2) expressly aimed at the forum state,


                                             7
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 8 of 13              PageID #: 465



 and (3) causing harm that the defendant knows is likely to be suffered in the forum

 state.” Axiom Foods, 874 F.3d at 1069 (citation and internal quotation marks

 omitted).

       Although Plaintiffs argue that Defendant Nhat’s conduct constitutes purposeful

 direction, Plaintiffs do not mention, let alone apply, the foregoing purposeful

 direction test. Plaintiffs simply assert that Defendant Nhat “purposely directs his

 electronic activity to the United States and targets and attract[s] a substantial number

 of users in the United States and, more particularly, Hawaii.” ECF No. 37-1 at 15.

 Plaintiffs also assert that the privacy policy on Defendant Nhat’s website “admits to

 using cookies and/or web beacons to collect data in the ad servicing process.” Id.

 (citing ECF 37-2 at 7 ¶ 12). The Court thus finds Plaintiffs’ arguments wholly

 conclusory.

       In any case, the Court finds that Plaintiffs’ evidence does not establish that

 Nhat’s alleged “electronic activity” was expressly aimed at the United States. Simply

 being able to access the APK Site from the United States does not establish that

 Defendant Nhat purposefully directed his activity to the United States. As the Ninth

 Circuit explained: “The placement of a product into the stream of commerce, without

 more, is not an act purposefully directed toward a forum state.” Holland, 485 F.3d at

 459 (citing Asahi Metal Indus. Co. v. Sup. Ct., 480 U.S. 102, 112 (1987)). “Not all

 material placed on the Internet is, solely by virtue of its universal accessibility,


                                              8
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 9 of 13            PageID #: 466



 expressly aimed at every state in which it is accessed.” Marvix Photo, Inc. v. Brand

 Techs., Inc., 647 F.3d 1218, 1231 (9th Cir. 2011); see also Cybersell, Inc. v.

 Cybersell, Inc., 130 F.3d 414, 419 (9th Cir. 1997) (“While there is no question that

 anyone, anywhere could access that home page and thereby learn about the services

 offered, we cannot see how from that fact alone it can be inferred that [the defendant]

 deliberately directed its merchandising efforts toward Arizona residents.”). “Even a

 defendant’s awareness that the stream of commerce may or will sweep the product

 into the forum state does not convert the mere act of placing the product into the

 stream of commerce into an act purposefully directed toward the forum state.” Id.

 (citing Asahi Metal, 480 U.S. at 112).

       Plaintiffs assert facts indicating only that Defendant Nhat’s APK Site has been

 “swept” into the United States. That the APK Site is in English does not show

 purposeful direction, as the United States is not the only country with English as an

 official language. Nor is Plaintiffs’ allegation that the United States is the country

 with the second most traffic to the APK site evidence of purposeful direction. That

 United States residents visited the APK Site, a universally accessible website, more

 than residents of other countries does not lead to the conclusion that Plaintiffs

 targeted the former.

       Based on the foregoing, Plaintiffs fail to establish that Defendant Nhat’s

 alleged “electronic activities” were expressly aimed at the United States. The Court


                                             9
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 10 of 13                PageID #:
                                    467


thus finds that Plaintiffs fail to establish that Defendant Nhat purposefully directed

his actions toward the United States.

A.     Purposeful Availment

       “‘Purposeful availment’ requires that the defendant ‘have performed some type

of affirmative conduct which allows or promotes the transaction of business within

the forum state.’” Haw. Forest & Trial Ltd. v. Davey, 556 F. Supp. 2d 1162, 1169

(D. Haw. 2008) (quoting Sher v. Johnson, 911 F.2d 1357, 1367 (9th Cir. 1990)).

“‘The requirement of “purposeful availment” is based on the presumption that it is

reasonable to require a defendant who conducts business and benefits from his

activities in a state to be subject to the burden of litigating in that state as well.’” Id.

at 1169-70 (quoting Brainerd v. Governors of the Univ. of Alberta,

       Plaintiffs do not specifically apply a purposeful availment analysis to the facts

of this case. Nevertheless, Plaintiffs appear to argue that Defendant Nhat

purposefully availed himself to the privileges of conducting activity in the United

States by registering the APK Site domain with Namesilo and using Cloudflare, both

United States companies. Plaintiffs assert that, when registering with Namesilo and

Cloudflare, Defendant Nhat agreed to the jurisdictions and laws of Arizona and

California, respectively. See ECF No. 37-1 at 13 (ECF No. 37-2 (Declaration of

Counsel) at 6-7 ¶¶ 10-11).




                                             10
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 11 of 13            PageID #:
                                    468


      In support of this argument, Plaintiffs’ counsel submits a declaration

purporting to authenticate screenshots of Namesilo’s and Cloudflare’s respective

conditions of service. See ECF No. 37-2 (Declaration of Counsel) at 6-7 ¶¶ 10-11.

The Court notes that the screenshots, however, are the conditions and service in effect

on the date accessed by counsel, September 2, 2019. The screenshots are not, nor

does Plaintiffs’ counsel purport them to be, the specific conditions and services in

effect when Defendant Nhat registered with Namesilo and Cloudflare.

      Even assuming Defendant Nhat agreed to the same conditions of service, the

Court finds that Defendant Nhat’s contacts with Namesilo and Cloudflare are

insufficient to establish purposeful availment. While Defendant Nhat may have

contacts with California and Arizona pursuant to his registration with United States

companies, such contacts are not extensive enough to invoke nationwide jurisdiction

such that it is reasonable to subject Defendant Nhat to litigation in any United States

federal forum. The Court thus finds that Plaintiffs fail to establish purposeful

availment by Defendant Nhat.

      Plaintiffs also argue that “Defendant [Nhat] takes advantage of the provisions

of US law on his website – namely the protections of the [Digital Millennium

Copyright Act (“DMCA”)].” ECF No. 37-1 at 13. Plaintiffs’ argument is based on

the purported “DMCA Policy” stated on the APK Site:

      All the content on apkmirrordownload.com is either submitted to
      apkmirrordownload by email or is readily available in various places on

                                           11
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 12 of 13            PageID #:
                                    469


      the internet and believed to be in public domain. Content (including
      images and videos) posted are believed to be posted within our rights
      according to the U.S. Copyright Fair Use Act (Title 17, U.S. Code.) [sic]

      Notification of Copyright Infringement

      Apkmirrordownload.com is in compliance with 17 U.S.C. § 512 and the
      [DMCA]. It is our policy to respond to any infringement notices and
      take appropriate actions under the [DMCA] and other intellectual
      property laws.

      If your copyrighted material has been posted on APKversion.net or if
      links to your copyrighted material are returned through any search
      engine and you want this material removed, you must provide a written
      communication that details the information listed in the following
      section. Please be aware that you will be liable for damages (including
      costs and attorneys’ fees) if you misrepresent information listed on our
      site that is infringing on your copyrights. We suggest that you first
      contact an attorney for legal assistance on this matter.

ECF No. 37-2 at 5 ¶ 8.

      Contrary to Plaintiffs’ argument, the above language does not indicate that

Defendant Nhat takes advantage of the DMCA’s protections. Rather, the Court reads

the DMCA Policy to simply state that the APK Site is in compliance with the DMCA

and will respond to allegations of infringement in accordance with the DMCA. The

DMCA Policy does not claim that Defendant Nhat has rights under the DMCA that

he intends to enforce in United States courts. Plaintiffs thus fail to persuade the Court

that including the DMCA Policy on the APK Site amounts to purposeful availment

by Defendant Nhat.




                                           12
Case 1:19-cv-00168-LEK-KJM Document 46 Filed 11/07/19 Page 13 of 13                   PageID #:
                                    470


       Based on the foregoing, the Court finds that Defendant Nhat’s contacts are

insufficient to invoke nationwide jurisdiction under Rule 4(k)(2). More specifically,

Plaintiffs fail to satisfy the first prong of the three-part minimum contacts test, i.e.,

purposeful direction or purposeful availment. The Court thus declines to analyze the

remaining two prongs of the minimum contacts test. See Cybersell, 130 F.3d at 419

(declining to analyze the second and third prong of the minimum contacts test

because the plaintiffs failed to satisfy the “purposeful availment” prong of the three-

part minimum contacts test).

                                       CONCLUSION

       Based on the foregoing, the FINDS AND RECOMMENDS that the district

court DENY Plaintiffs’ Motion for Default Judgment Against Defendant Nghi Phan

Nhat (ECF No. 37).

       IT IS SO FOUND AND RECOMMENDED.

       DATED: Honolulu, Hawaii, November 7, 2019.




                                           Kenneth J. Mansfield
                                           United States Magistrate Judge




Hunter Killer Prods., Inc., et al. v. Zarlish, et al., Civil No. 19-00168 LEK-KJM; Findings and
Recommendation Denying Plaintiffs’ Motion for Default Judgment Against Defendant Nghi Phan
Nhat



                                               13
